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SOUTHERN DISTRICT OF IOWA ny E} VED

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UNITED STATES OF AMERICA . Sour U iste,
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V. CRIMINAL COMPLAINT Car ig AT
ROSCOE CHAMBERS, CASE NUMBER: 3:12-mj-65

a.k.a. Tommy
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. Count 1

On or about June 24, 2012, in the Southern District of Iowa, the defendant, ROSCOE CHAMBERS, also
known as Tommy, did knowingly possess with the intent to distribute at least 28 grams of a mixture or substance
containing cocaine base, also known as “crack cocaine,” a Schedule II controlled substance. This was a violation
of Title 21, United States Code, §§ 841(a)(1) and 841(b)(1)(B).

I further state that I am a(n) DPD-Kevin Smull and that this Complaint is based on the following facts:

See Affidavit attached and incorporated hereto.

Continued on the attached sheet and made a part hereof: & Yes LINo

sg, Ores, 3>

Kevin Smull
Davenport Police Officer

Sworn to before me and subscribed in my presence,

fof .
OJ uly (, Lal 2. at Davenport, Iowa
Date J City and State
Thomas J. Shields, Chief Magistrate Judge, mM Wao
Southern District of lowa ( |
Name & Title of Judicial Officer Signature of udic al Officer

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AFFIDAVIT
UNITED STATES OF AMERICA)
SOUTHERN DISTRICT OF IOWA ~

I, Sgt. Kevin Smull being duly sworn state and depose as follows:

1. [have been employed as a police officer with the Davenport Police Department for 18
years. During that time, I have participated in numerous narcotic investigations involving the
distribution and transportation of controlled substances, manufacture of controlled substances, —
and sales of controlled substances, including cocaine base, also known as crack cocaine. As part
of these narcotics investigations, I have interviewed and spoken to numerous individuals about
the common methods used to obtain, manufacture, package, distribute and use crack cocaine.
Relatedly, I have observed on numerous occasions various quantities of crack cocaine, and am
familiar with the appearance and form of crack cocaine, in addition to the common weights and

methods that crack cocaine is ingested and distributed. I am aware of the information set forth

below through observations, discussions with other law enforcement officers, and the review of

police reports. The following contains some, but not all, of the information known to this affiant.

2. This affidavit is in support of a complaint charging Roscoe Chambers (xx-xx-1971)
with the crime of possession with intent to distribute crack cocaine (cocaine base).

3. On 06-23-12 a Davenport Police Department (DPD), Tactical Operations Bureau
(TOB) informant arranged to purchase $100.00 of crack cocaine from Roscoe Chambers (AKA
Tommy). This informant is a known drug user and addict. The informant has a prior conviction
for OWI. The informant placed a recorded phone call to an individual the informant later
identified-as Roscoe Chambers at xxx-2049 to make the arrangements. The meet location was

established at the Rusty Nail Bar located on W Locust St. in Davenport, lowa. Davenport is in

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the Southern District of Iowa. Prior to the purchase, the informant and informant’s vehicle were
searched for the presence of contraband and none was found. The informant was provided a
recording device and $100 in pre-recorded buy funds. Surveillance was established by other
DPD officers in the area of this bar. Prior to the controlled purchase, the informant had provided
a description of Chambers vehicle and the plate number (red Ford Taurus Illinois P330026).
After surveillance was set, Chambers arrived in a vehicle similar in description and matching the
license plate number provided by the informant. DPD officers observed the informant enter the
front passenger seat of Chambers’ car. After a short period of time, the informant exited the car
and Chambers left the area. Prior to the controlled purchase, affiant was provided a photograph
of Roscoe Chambers. As Chambers left the parking lot, this affiant positively identified him as
the driver of the vehicle. After the transaction, DPD Det. Koepke met with the informant where
the informant turned over the crack cocaine purchased (.95 grams). The crack cocaine was field .
tested and the substance tested positive for cocaine. DPD officers followed Chambers from the
Rusty Nail to an apartment building on Marquette St in Davenport where he parked the car and
entered the north side of the apartment building.

4. After the controlled purchase, DPD conducted a search of the person and vehicle of
the informant. No contraband was found. The informant described getting into the Ford Taurus
and receiving crack cocaine from Chambers. The informant provided Chambers with the pre-
recorded $100 in buy funds. The informant observed Chambers in possession of additional
quantities of crack cocaine. During the transaction, Chambers told the informant he was looking
to purchase handguns. The informant was shown a photograph of Roscoe Chambers and

identified Chambers as the subject who provided him crack cocaine.
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5. On 06/24/12 DPD Det. Koepke drafted a state search warrant for an apartment on
Marquette St, the person of Roscoe Chambers and the identified Ford Taurus license #P330026.
Det. Koepke had obtained information for the utilities for this Marquette St apartment and
learned through Mid American that the utilities for the specific apartment in question were in the
name of Roscoe Chambers. The search warrant was presented to a state magistrate judge and
signed on 06/24/12.

6. On 06/24/12, the same informant placed a recorded phone call to Chambers at xxx-
2049 to arrange the purchase of $100 dollars of crack cocaine. Chambers told the informant to
meet him at the Rusty Nail parking lot. DPD officers conducting surveillance at the identified
- apartment on Marquette St observed the same Ford Taurus observed on 06/23 parked in the
parking lot. After the phone call, DPD officers also set up surveillance at the Rusty Nail. The
informant was provided $100 in pre-recorded buy funds and a recording device. The informant
was searched for contraband with none found. After a short period of time following the
recorded phone call, a person matching Chambers physical description exited the north side of |
apartment building and approached the red Ford. This person entered the car and left.
Surveillance followed this vehicle to the Rusty Nail parking lot. The informant met Chambers
where the crack cocaine transaction took place. After the informant walked away from Chambers
car another male white, later identified as David Hazelwood, stopped and appeared to be making ©
contact with Chambers through the car window. After a short meet, Hazelwood walked away.
Det. Koepke met with the informant where 1.05 grams of crack cocaine was turned over. The
crack cocaine was field tested and the substance tested positive for cocaine. The informant was

again searched with no contraband found.

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7. The informant was later debriefed. The informant described making arrangements for
the purchase of crack cocaine from Chambers. In a phone call, Chamber directed the informant
to meet him in the same location as on 06/23. After the informant arrived at the Rusty Nail
parking lot, the informant got out and approached the Ford Taurus. The informant leaned in the
passenger window and provided Chambers with $100 in pre-recorded buy funds in exchange for
crack cocaine.

8. It was determined at this time, DPD would execute the search warrant on Chambers, |
his vehicle and the Marquette St residence. Prior to arranging the second buy, affiant had
_ recruited DPD EST (Emergency Service Team) to assist in the take down of Chambers and the
execution of the search warrant at his residence. EST approached Chambers as he remained
sitting in his car and took him into custody. DPD officers also approached Hazelwood and
detained him pending an interview. A secondary EST team executed the search warrant at the
identified apartment on Marquette St.

9. After Chambers was secured, the Ford Taurus was searched where officers later
recovered $100 dollars of TOB buy fund money used in the 6/24 controlled purchase of crack
cocaine. Officers also seized a cell phone with a number matching the one called by the
informant to arrange the 6/23 and 6/24 controlled purchases. A search was done of Hazelwood’s
vehicle and .2 grams of crack cocaine was recovered. During an interview on 6/24, Hazelwood
admitted the crack cocaine found in his truck came from Chambers. In a subsequent interview
on 6/26, Hazelwood both denied ever buying crack cocaine from Chambers, and admitted
purchasing crack cocaine from Chambers on three to four prior occasions.

10. A search was done of the Marquette St apartment where the following items were

found:
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$759.00 cash (contained $100 TOB buy funds from 06/23/12 controlled purchase)
82 grams of crack cocaine (in three locations; some broken down in smaller pieces
and packaged)
5 ecstasy pills
Cell phone
Razor blade containing cocaine residue
Indicia for Chambers
The crack cocaine recovered was field tested and the substance tested positive for
cocaine.
11. Based on the education, training and experience of the affiant, the facts surrounding
and the substances purchased during the above described controlled purchases on 6/23 and 6/24,
the weights, and the packaging and other items seized from the apartment on 6/24, the affiant is
of the opinion that the substances seized from the Marquette St apartment on 6/24 were crack

cocaine and were held for the distribution to others, and not personal usage.

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Sgt. Kevin Smull 0635

Signed and sworn before me this G day of July, 2012

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\ te Judge

Thomas J. Shiel
Chief United States Ma\
Southern Districtiof low
